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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF KENTUCKY
                             SOUTHERN DIVISION
                                   LONDON

 CRIMINAL ACTION NO. 6:17-CR-53-GFVT

 UNITED STATES OF AMERICA

 V.              UNITED STATES’ SENTENCING MEMORANDUM

 WERNER GRENTZ

                                        * * * * *

        Grentz was convicted at trial of five counts of filing fraudulent tax returns and one

 count of obstruction of the internal revenue laws. [R. 42: Verdict at 171-74.] Grentz

 objects to his PSR, maintaining that he is innocent of Counts 4 and 5. [PSR at 28.] The

 United States does not object to the PSR, which finds Grentz’s guidelines imprisonment

 range to be 33-41 months. [PSR ¶ 87.] The United requests that Grentz be sentenced to

 36 months imprisonment.

        A sentence of 36 months is appropriate “to reflect the seriousness of the offense,

 to promote respect for the law, and to provide just punishment for the offense.” 18

 U.S.C. § 3553(a)(2)(A). Grentz has no respect for the law and only manipulates it for his

 advantage. In 2013, he pleaded guilty to tax evasion and agreed to pay restitution for

 1999, 2000, 2001, 2002, 2003, 2004, 2005, 2006, 2007, 2008, 2009, and 2010; to disclose

 requested financial information; and to correctly file tax returns in 2011 and 2012. [R.

 40: Plea Agreement at 162-64 (6:12-cr-12-GFVT).] He then refused to provide the

 requested financial information to the Probation Officer (who was attacked by a dog on
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 one of his visits to Grentz’s home); reported the Probation Officer to the police; served

 the Probation Officer with a “Legal Notice and Demand” forbidding the Probation Office

 from entering Grentz’s property; and failed to appear for a required Court appearance.

 [PSR ¶ 33.]

        Grentz later filed false tax returns for 2011, 2012, 2013, 2014, and 2015; mailed

 threatening letters to an IRS Revenue Officer, the Laurel County Clerk, and the Pike

 County Clerk; and submitted claims to their insurers that those clerks had caused him

 monetary damages. [PSR ¶¶ 5-8.] Except when it is to his advantage, like calling the

 police or collecting social security income, Grentz claims that he is a nonresident alien to

 whom the rules don’t apply. [PSR ¶ 72.] Grentz has refused to pay his taxes since 1998.

 Grentz’s sentence of imprisonment must communicate that defendants cannot break plea

 agreements and violate release conditions, that there are consequences for violating

 federal crimes and obstructing justice, and that no one is above the law.

        A sentence of 36 months is appropriate “to afford adequate deterrence to criminal

 conduct.” 18 U.S.C. § 3553(a)(2)(B). As Grentz knows, the IRS cannot audit every tax

 return, but has an honor code tax system trusting taxpayers to honestly file their taxes.

 The IRS also does not have the resources to identify and prosecute every individual

 taxpayer who makes false claims in their tax returns. Tax fraud can only be deterred by

 giving notice of a severe punishment to the cheats who are caught, investigated, and

 prosecuted. This deterrence will actually be undermined if the weight of the potential

 punishment is inadequate compared to the risk-adjusted rewards of tax fraud. Here,

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 between 2011 and 2015, Grentz avoided paying $237,860 in taxes, not including the

 $900,068 in back taxes promised in his plea agreement. [PSR ¶¶ 4, 6.] Therefore,

 Grentz’s sentence of imprisonment must be severe enough to deter other taxpayers’

 temptation to commit this sometimes-undetectable federal crime.

        Deterrence is particularly important where the same defendant commits the same

 crime twice. [PSR ¶ 33.] Grentz’s guidelines sentence following his 2013 guilty plea

 was 30-37 months imprisonment; he was given a large downward variance and a

 sentence of 18 months. [R. 43: Judgment at 169 (6:12-cr-12-GFVT).] This mercy was

 wasted. In 2014, Grentz filed a motion under 18 U.S.C. § 2255 claiming he was innocent

 and had been improperly advised by his defense attorney. [R. 47: Motion at 187 (6:12-

 cr-12-GFVT).] In 2015 and 2016, Grentz included this same claim of innocence within

 five additional tax filings falsely reporting $720,154 of income as zero. [PSR ¶ 5-6.] He

 is a recidivist who has never acknowledged that he is subject to the laws of the United

 States. Grentz was must be given a sentence long enough to specifically deter him from

 committing this crime a third time.

       For the reasons set forth above, the United States recommends a guidelines

 sentence of 36 months.




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                                                Respectfully submitted,

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                             CERTIFICATE OF SERVICE

 On August 20, 2018, I electronically filed this document through the ECF system.

                                                s/ Neeraj Gupta
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